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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

   IN RE SYNCHRONOSS
   TECHNOLOGIES, INC. SECURITIES
   LITIGATION
   ___________________________________              Civil Action No. 17-7173 (FLW) (LHG)

   THIS DOCUMENT RELATES TO:
                                                                ORDER
            ALL ACTIONS




        THIS MATTER having been opened to the Court by Harvey Bartle, Esq., counsel for

 Defendants Stephen G. Waldis, William J. Cadogan, Thomas J. Hopkins, James M. McCormick,

 and Donnie M. Moore and Nominal Defendant Synchronoss Technologies, Inc. (“Synchronoss”

 or the “Company”)(collectively, “Defendants”) on a Motion to Dismiss, pursuant to Federal Rules

 of Civil Procedure 12(b)(6) and 23.1; it appearing that Lead Plaintiff Lisa Leboeuf (“Lead

 Plaintiff”), through her counsel, Jennifer Sarnelli, Esq., opposes the motion; the Court having

 considered the submissions of the parties without oral argument, pursuant to Fed. R. Civ. P. 78;

 for the reasons set forth in the Opinion filed on this date, and for good cause shown,

        IT IS on this 26th day of November, 2019,

        ORDERED that Defendants’ Motion to Dismiss [ECF No. 49] is DENIED because Lead

        Plaintiff has adequately alleged demand futility; it is further

        ORDERED Lead Plaintiff’s one-count breach of fiduciary duty claim is limited to the

        breach of the duty of loyalty stemming from Defendants’ material misstatements regarding

        the financial terms of the Activation Divestiture and the omissions regarding the $9.2

        million licensing fee revenue and its impact on the company’s Fourth Quarter 2016
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      financial results; if Plaintiff determines, through discovery, that she has a basis to

      adequately allege breaches of fiduciary duty premised on other theories, Plaintiff may file

      a motion for leave to amend her Complaint.




                                                                  /s/ Freda L. Wolfson
                                                                  Freda L. Wolfson
                                                                  U.S. Chief District Judge
